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MINUTE ENTRY
NORTH, M.J.
MAY 7, 2018


                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

MICHAEL PERITO                                         CIVIL ACTION

VERSUS                                                 NUMBER: 17-11778

ENTERGY CORPORATION, ET AL.                            SECTION: “I”(5)


       The materials terms of the settlement agreement that was previously reached in this

matter were memorialized on the record telephonically (Court Reporter: Mary Thompson).

       PARTICIPATING:       Charlie Thomas      Renee Masinter

       The Court thanks counsel and the parties for their perseverance in bringing this

matter to an amicable resolution.




                                                       MICHAEL B. NORTH
                                                  UNITED STATES MAGISTRATE JUDGE

CLERK TO NOTIFY:
HONORABLE LANCE M. AFRICK


 MJSTAR (00:10)
